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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

     NAUTILUS INSURANCE COMPANY,                     :
                                                     :
                                                     :         CIVIL ACTION
                          Plaintiff,                 :
                   v.                                :         NO. 20-289
                                                     :
                                                     :
     MOTEL MANAGEMENT SERVICES,                      :
     INC. d/b/a NESHAMINY INN, et al.,               :
                          Defendants.

                                             ORDER

         AND NOW, this __27th__ day of July 2021, upon consideration of the Motions for

Judgment on the Pleadings from Plaintiff Nautilus Insurance Company (ECF 27) and the Insured

Defendants (ECF 28), and the associated responses in opposition (ECFs 31 and 32), IT IS

HEREBY ORDERED AND DECREED that Nautilus Insurance’s Motion is GRANTED and

the Insured Defendants’ Motion is DENIED.1

          Judgment is entered in favor of Nautilus Insurance Company, declaring that it owes no

duty to defend or indemnify Motel Management Services, Inc. d/b/a Neshaminy Inn, The Mary

Etzrodt Real Estate Trust and NI45, LLC in the underlying matter of E.B. v. Motel 6 Operating

L.P et al. in the Philadelphia Court of Common Pleas, No. 1705-0487.




                                                            BY THE COURT:

                                                            /s/ Petrese B. Tucker
                                                            ____________________________
                                                            Hon. Petrese B. Tucker, U.S.D.J.

1
    This Order accompanies the Court’s Memorandum Opinion dated July 27, 2021.
